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      In re Delphi Corporation, et al.                      Pg 1 of 3         Twentieth Omnibus Claims Objection
      Case No. 05-44481 (RDD)
         EXHIBIT C-1 - BOOKS AND RECORDS CLAIMS
             CREDITOR'S NAME AND           CLAIM                    ASSERTED                      DATE               DOCKETED
                   ADDRESS                NUMBER                  CLAIM AMOUNT                    FILED               DEBTOR


  ACCESS ELECTRONICS INC                   10399               Secured:                          07/24/2006   DELPHI AUTOMOTIVE
  4190 GROVE AVE                                                Priority:                                     SYSTEMS LLC (05-44640)
  GURNEE, IL 60031                                        Administrative:
                                                             Unsecured:             $67,970.98
                                                                   Total:           $67,970.98


  ACE DORAN HAULING AND                     2946               Secured:                          04/27/2006   DELPHI CORPORATION
  RIGGING CO                                                    Priority:                                     (05-44481)
  PO BOX 632496                                           Administrative:
  CINCINNATI, OH 45263-2496                                  Unsecured:               $592.89
                                                                   Total:             $592.89


  DEBELLO INVESTORS LLC                    11887               Secured:                          07/28/2006   DELPHI CORPORATION
  WEXFORD CAPITAL LLC                                           Priority:                                     (05-44481)
  411 PUTNAM AVE                                          Administrative:
  GREENWICH, CT 06830                                        Unsecured:                  UNL
                                                                   Total:                UNL


  DELPHI CORP DERIVATIVELY BY              14763               Secured:                          07/31/2006   DELPHI CORPORATION
  SHAWN DANGERFIELD                                             Priority:    $100,000,000.00                  (05-44481)
  AMBER L ECK                                             Administrative:
  LERACH COUGHLIN STOIA GELLER                               Unsecured:
  RUDMAN & ROBBINS                                                 Total:    $100,000,000.00
  655 W BROADWAY STE 1900
  SAN DIEGO, CA 92101

  FRANKENMUTH MUTAL                         1089               Secured:                          12/09/2005   DELPHI CORPORATION
  INSURANCE GROUP                                               Priority:                                     (05-44481)
  PO BOX 1988                                             Administrative:
  MONTGOMERY, AL 36102                                       Unsecured:            $167,224.87
                                                                   Total:          $167,224.87


  GREAT LAKES MECHANICAL INC                7350               Secured:                          06/02/2006   DELPHI CORPORATION
  GREAT LAKES SERVICE GROUP                                     Priority:                                     (05-44481)
  3821 MAPLE ST                                           Administrative:
  DEARBORN, MI 48126                                         Unsecured:              $4,588.00
                                                                   Total:            $4,588.00


  IOTA INVESTORS LLC                       11890               Secured:                          07/28/2006   DELPHI CORPORATION
  WEXFORD CAPITAL LLC                                           Priority:                                     (05-44481)
  411 PUTNAM AVE                                          Administrative:
  GREENWICH, CT 06830                                        Unsecured:                  UNL
                                                                   Total:                UNL




*UNL stands for unliquidated
                                                                     Page 1 of 3
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  MARILYN R RICH                           11131               Secured:                         07/26/2006   DELPHI CORPORATION
  4193 NW 60TH CIRCLE                                           Priority:                                    (05-44481)
  BOCA RATON, FL 33486                                    Administrative:
                                                             Unsecured:                 UNL
                                                                   Total:               UNL


  MORRIS CANTOR LUKASIK DOLCE              10489               Secured:                         07/24/2006   DELPHI CORPORATION
  & PANEPINTO PC                                                Priority:                                    (05-44481)
  ATTORNEYS FOR PLAINTIFF                                 Administrative:
  1000 LIBERTY BLDG                                          Unsecured:            $66,666.66
  BUFFALO, NY 14202                                                Total:          $66,666.66


  NEAL C FOLCK                             14805               Secured:                         07/31/2006   DELPHI CORPORATION
  JAMES R GREENE III &                                          Priority:          $10,000.00                (05-44481)
  ASSOCIATES                                              Administrative:
  LIBERTY TOWER STE 900                                      Unsecured:
  120 WEST SECOND ST                                               Total:          $10,000.00
  DAYTON, OH 45402

  NEW YORK STATE DEPARTMENT                 1879               Secured:                         02/06/2006   DELPHI CORPORATION
  OF HEALTH                                                     Priority:                                    (05-44481)
  NYS OFFICE OF THE ATTORNEY                              Administrative:
  GENERAL                                                    Unsecured:              $619.08
  120 BROADWAY                                                     Total:            $619.08
  NEW YORK, NY 10271

  NIAGARA MOHAWK                            567                Secured:                         11/14/2005   DELPHI CORPORATION
  PO BOX 5026                                                   Priority:                                    (05-44481)
  BUFFALO, NY 14205                                       Administrative:
                                                             Unsecured:            $77,223.30
                                                                   Total:          $77,223.30


  PIEDMONT NATURAL GAS                      2108               Secured:                         02/23/2006   DELPHI CORPORATION
  COMPANY                                                       Priority:                                    (05-44481)
  4339 S TRYON ST                                         Administrative:
  CHARLOTTE, NC 28217-1733                                   Unsecured:               $81.59
                                                                   Total:             $81.59


  PLAINTIFF CLASS IN BERNSTEIN V           14298               Secured:                         07/31/2006   DELPHI CORPORATION
  DELPHI TRUST I ET AL IN RE                                    Priority:                                    (05-44481)
  DELPHI SECURITIES DERIVATIVE &                          Administrative:
  ERISA LITIG                                                Unsecured:      $250,000,000.00
  C O KANTROWITZ GOLDHAMER &                                       Total:    $250,000,000.00
  GRAIFMAN PC
  747 CHESTNUT RIDGE RD
  CHESTNUT RIDGE, NY 10977




*UNL stands for unliquidated
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  ROSS MARION AND WILLIAM                    7594                Secured:                          06/07/2006   DELPHI CORPORATION
  FRANK D ALLEN ESQ                                               Priority:                                     (05-44481)
  ONE CENTENNIAL SQUARE                                     Administrative:
  PO BOX 3000                                                  Unsecured:            $250,000.00
  HADDONFIELD, NJ 08033-0968                                         Total:          $250,000.00


  WEXFORD CAPITAL LLC                        11889               Secured:                          07/28/2006   DELPHI CORPORATION
  411 PUTNAM AVE                                                  Priority:                                     (05-44481)
  GREENWICH, CT 06830                                       Administrative:
                                                               Unsecured:                  UNL
                                                                     Total:                UNL


  WEXFORD CATALYST INVESTORS                 11891               Secured:                          07/28/2006   DELPHI CORPORATION
  LLC                                                             Priority:                                     (05-44481)
  WEXFORD CAPITAL LLC                                       Administrative:
  411 PUTNAM AVE                                               Unsecured:                  UNL
  GREENWICH, CT 06830                                                Total:                UNL


  WEXFORD SPECTRUM TRADING                   11888               Secured:                          07/28/2006   DELPHI CORPORATION
  LTD                                                             Priority:                                     (05-44481)
  WEXFORD CAPITAL LLC                                       Administrative:
  411 PUTNAM AVE                                               Unsecured:                  UNL
  GREENWICH, CT 06830                                                Total:                UNL

                                   Total:       18                            $350,644,967.37




*UNL stands for unliquidated
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